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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

IN RE: TERRORIST ATTACKS ON - :
SEPTEMBER 11, 2001 : 03-MDL-1570 (GBD)(SN)

This Document Relates To:

Patricia Ryan, Individually as Spouse and as Personal Representative of the Estate of John J.
Ryan, deceased; Kristen Ryan, Individually and as Surviving Child of John J. Ryan, deceased;
Laura Ryan, individually and as Surviving Child of John J. Ryan, deceased; and Colin Ryan,
Individually as Surviving Child of John J. Ryan, deceased only in the cases of Ashton, et al. v.
al Qaeda Islamic Army, et al., Case No. 02-cv-6977 (GBD)(SN); Bauer, et al. v. al Qaeda
Islamic Army, et al., Case No. 02-cv-7236 (GBD)(SN); and Ashton, et al. v. Kingdom of Saudi
Arabia, Case No.: 17-cv-02003 (GBD)(SN)

MOTION TO SUBSTITUTE COUNSEL

COME NOW, Patricia Ryan, individually as spouse and as Personal Representative of the
Estate of John J. Ryan, deceased; Kristen Ryan, individually as surviving child of John J. Ryan,
deceased; Laura Ryan, individually as surviving child of John J. Ryan, deceased; and Colin Ryan,
individually as surviving child of John J. Ryan, deceased (“the Ryan Plaintiffs”) Plaintiffs in
Ashton, et al. v. al Qaeda Islamic Army, et al., Case No. 02-cv-6977 (GBD)(SN); Bauer, et al. v.
al Qaeda Islamic Army, et al., Case No. 02-cv-7236 (GBD)(SN); and Ashton, et al. v. Kingdom of
Saudi Arabia, Case No.: 17-cv-02003 (GBD)(SN), and file this Motion to Substitute Counsel. As
grounds for said Motion, the Ryan Plaintiffs state as follows:

1. The Ryan Plaintiffs were represented by Thea Capone and Michel F. Baumeister
of Baumeister & Samuels, P.C. (“Baumeister & Samuels’). On March 22, 2019, by email,
Baumeister & Samuels informed the Ryan Plaintiffs that they should seek new counsel.

2. The Ryan Plaintiffs have retained Dennis G. Pantazis of Wiggins Childs Pantazis

Fisher Goldfarb LLC to represent them in this matter.
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3. The Ryan Plaintiffs request the Court to substitute Dennis G. Pantazis as attorney
of record as to the Ryan Plaintiffs only.

4, The Ryan Plaintiffs and Dennis G. Pantazis consent to the substitution of counsel
as requested herein (signed Consents attached hereto as Exhibit A).

5. The parties anticipate after substitution of counsel is granted, they will move the
Court to separate the Ryan Plaintiffs into a separate case.

WHEREFORE, PREMISES CONSIDERED, Patricia Ryan, individually as spouse and
as Personal Representative of the Estate of John J. Ryan, deceased; Kristen Ryan, individually as
surviving child of John J. Ryan, deceased; Laura Ryan, individually as surviving child of John J.
Ryan, deceased; and Colin Ryan, individually as surviving child of John J. Ryan, deceased, pray
that this Honorable Court enter an Order substituting Dennis G. Pantazis of Wiggins Childs
Pantazis Fisher Goldfarb LLC as attorney of record for the Ryan Plaintiffs only in Ashton, et al. v.
al Qaeda Islamic Army, et al., Case No. 02-cv-6977 (GBD)(SN); Bauer, et al. v. al Qaeda Islamic
Army, et al., Case No. 02-cv-7236 (GBD)(SN); and Ashton, et al. v. Kingdom of Saudi Arabia,
Case No.: 17-cv-02003 (GBD)(SN).

RESPECTFULLY SUBMITTED,

/s/ Dennis G. Pantazis
Dennis G. Pantazis

OF COUNSEL:

WIGGINS CHILDS PANTAZIS
FISHER GOLDFARB LLC

The Kress Building

301 Nineteenth Street North
Birmingham, Alabama 35203
Telephone: (205) 314-0531
Facsimile: (205) 314-0731
Email: dgp@wigginschilds.com
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EXHIBIT A
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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

IN RE: TERRORIST ATTACKS ON;
SEPTEMBER 11, 2001 03-MDL-1570 (GBD)(SN)

This Document Relates To:

Ashton, et al. v. al Qaeda Islamic Army, et al., Case No,: 02-cv-06977 (GBD) (SN)
Bauer, ef al. v. al Qaeda Islamic Army, et al., Case No. 02-cy-07236 (GBD) (SN)
Ashton, et ai..v. Kingdom of Saudi Arabia, et al, Case No.: 17-cv-02003 (GBD) (SN)

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Notice is hereby given that, subject to approval by the Court, Patricia Ryan, individually
as spouse and as Personal Representative of the Estate of John J. Ryan, deceased, substitutes
Dennis G. Pantazis of Wiggins Childs Pantazis Fisher Goldfarb LLC, as counsel of record in place
of Baumeister & Samuels, B.C,

Contact information for new counsel, Dennis G. Pantazis, is as follows:

Wiggins Childs Pantazis Fisher Goldfarb LLC
The Kress Building

301 Nineteenth Street North

Birmingham, Alabama 35203

Telephone: (205) 314-0531

Facsimile: (205) 314-0731

Email: dgp@wigginschilds.com

I, Patricla Ryan, individually as spouse and as Personal Representative of the Estate of
John.f. Ryan, deceased, hereby consent to the above substitution of counsel.
Date: % | GO | IF hoof ‘he A Arie YB sunumaittt arennnnae
‘ ‘Patricia Ryan; Individually as Spouse and as.

Personal Representative of the Estate of
John J, Ryan, deceased

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I, Dennis G. Pantazis, hereby consent to the above substitution of counsel as to plaintiffs
Patricia Ryan, individually as spouse and as Personal Representative of the Estate of John

J. Ryan, deceased.

Date: G / a / ¢ fp
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Dennis G. Pantazis
WIGGINS CHILDS PANTAZIS
FISHER GOLDFARB LLC
The Kress Building

301 Nineteenth Street North
Birmingham, Alabama 35203
Telephone: (205) 314-0531
Facsimile: (205) 314-0731

Email: dgp@wigginschilds.com

The substitution of attorney as to plaintiffs Patricia Ryan, individually as spouse and as
Personal Representative of the Estate of John J. Ryan, deceased is hereby approved and so

ORDERED.

Date:

UNITED STATES DISTRICT JUDGE

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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

IN RE: TERRORIST ATTACKS ON
SEPTEMBER 11, 2001 : 03-MDL-1570 (GBD)(SN)

This Document Relates To:
Ashton, ef al. v. al Queda Islamic Army, et al, Case No.: 02-cv-06977 (GBD) (SN)
Bauer, et al. v. al Qaeda Islamic Army, et al., Case No,: 02-cv-07236 (GBD) (SN)
Ashton, et al. v. Kingdom of Saudi Arabia, et al, Case No.: 17-cv-02003 (GBD) (SN)

CONSENT ORDER GRANTING SUBSTITUTION OF ATTORNEY

Notice is hereby given that, subject to approval by the Court, Kristen Ryan, individually as
surviving child of John J. Ryan, deceased, substitutes Dennis G. Pantazis of Wiggins Childs
Pantazis Fisher Goldfarb LLC, as counsel of record in place of Baumeister & Sarmels, P.C.

Contact information for new counsel, Dennis G. Pantazis, is as follows:

Wiggins Childs Pantazis Fisher Goldfarb LLC
The Kress Building

301 Nineteenth Street North

Binningham, Alabama 35203

Telephone: (205) 314-0531

Facsimile: (205) 314-073 |

Email: dgp@wigginschilds.com

1, Kristen Ryan, individually as surviving child of John J. Ryan, deceased, hereby consent

to the above substitution of counsel.

Date: 3/ 10] i 9

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of John J, Ryan, deceased
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I, Dennis G, Pantazis, hereby consent to the above substitution of counsel as to plaintiff

Kristen Ryan, individually as surviving child of John J. Ryan, deceased.

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is G, Pantazis

WIGGINS CHILDS PANTAAZIS
FISHER GOLDFARB LLC

The Kress Building

301 Nineteenth Street North
Birmingham, Alabama 35203
Telephone: (205) 314-0531
Facsimile: (205) 314-0731
Email; dgp@wigginschilds.com

Date: q 20 he
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The substitution of attorney as to plaintiff Kristen Ryan, individually as surviving child

of John J. Ryan, deceased is hereby approved and so ORDERED.

Date:

UNITED STATES DISTRICT JUDGE _

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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

IN RE: TERRORIST ATTACKS ON — :
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Bauer, et al. v. al Qaeda Islamic Army, et al., Case No.: 02-cv-07236 (GBD) (SN)
Ashton, et al. y. Kingdom of Saudi Arabia, et al, Case No.: 17-ev-02003 (GBD) (SN)

CONSENT ORDER GRANTING SUBSTITUTION OF ATTORNEY

Notice is hereby given that, subject to approval by the Court, Laura Ryan, individually as
surviving child of John J. Ryan, deceased, substitutes Dennis G. Pantazis of Wiggins Childs
Pantazis Fisher Goldfarb LLC, as counsel of record in place of Baumeister & Samuels, P.C.

Contact information for new counsel, Dennis G. Pantazis, is as follows:

Wiggins Childs Pantazis Fisher Goldfarb LLC
The Kress Building -

301 Nineteenth Street North

Birmingham, Alabama 35203

Telephone: (205) 314-0531

Facsimile: (205) 314-0731

Email: dgp@wigginschilds.com

I, Laura Ryan, individually as surviving child of John J. Ryan, deceased, hereby consent to

the above substitution of counsel.

Date:

Laura Ryan, Individually as Surviving Child
of John J. Ryan, deceased

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I, Dennis G. Pantazis, hereby consent to the above substitution of counsel as to plaintiff

’ Laura Ryan, individually as surviving child of Jahn J. Ryan, deceased.

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Dennis G. Pantazis
WIGGINS CHILDS PANTAZIS
FISHER GOLDFARB LLC
The Kress Building
301 Nineteenth Street North
Birmingham, Alabama 35203
Telephone: (205) 314-0531
Facsimile: (205) 314-0731
Email: dgp@wigginschilds.com

The substitution of attorney as to plaintiff Laura Ryan, individually as surviving child

of John J. Ryan, deceased is hereby approved and so ORDERED.

Date:

UNITED STATES DISTRICT JUDGE

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IN THE UNITED STATES DIST RICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

IN RE: TERRORIST ATTACKS ON
SEPTEMBER 11, 2001

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03-MDL-1570 (GBD)(SN)

This Document Relates To:

Ashton, et al. v. al Qaeda Islamic Army, et al, Case No.: 02-cv-06977 (GBD) (SN)
Bauer, et.al. v. al Qaeda Islamic Army, ef al., Case No.; 02-cv-07236 (GBD) (SN)
Ashton, et al. v. Kingdom of Saudi Arabia, et al, Case No.: 17-cv-02003 (GBD) (SN)

CONSENT ORDER GRANTING SUBSTITUTION OF ATTORNEY

Notice is hereby given that, subject to approval by the Court, Colin Ryan, individually as
SUrVIVINg child of John J. Ryan, deceased, substitutes Dennis G, Pantazis of Wiggins Childs ~ .
Pantazis Fisher Goldfarb LLC, as counsel of record in place of Baumeister & Samuels, P.C.

Contact information for new counsel, Dennis G. Pantazis, is as follows:

Wiggins Childs Pantazis Fisher Goldfarb LLC
The Kress Building

301 Nineteenth Street North

Birmingham, Alabama 35203

Telephone: (205) 314-0531

Facsimile: (205) 314-0731

Email: dgp@wigginschilds.com

I, Colin Ryan, individually as surviving child of John J. Ryan, deceased, hereby consent to
the above substitution of counsel.

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Colin Ryan, Individually as Surviving Child
of John J. Ryan, deceased

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I, Dennis G. Pantazis, hereby consent to the above substitution of counsel as to plaintiff

. Ryan, deceased.

Colin Ryan, individually as surviving child of John

Mennis G. Pantazis
WIGGINS CHILDS PANTAZIS
FISHER GOLDFARB LLC

The Kress Building

301 Nineteenth Street North
Birmingham, Alabama 35203
Telephone: (205) 314-0531
Facsimile: (205) 314-0731
Email: dgp@wigginschilds.com

The substitution of attorney as to plaintiff Colin Ryan, individually as surviving child of

John J. Ryan, deceased is hereby approved and so ORDERED.

Date:
UNITED STATES DISTRICT JUDGE

